Case 2:05-cr-20177-SH|\/| Document 114 Filed 07/27/05 Page 1 of 3 PagelD 127

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uNiTEo sTATEs oF AMERicA, ) V:"{""`“’ ‘5"` g""i:"iF‘FH§S
)
Piaimifr, )
)
vs. ) cR. No. 05-20055-01-Ma
) 05-20177-04-~\3 ¢»"#‘
TAVARis sooTHE, )
)
Defendant. )

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY

 

This cause came on for a report date on July 26, 2005. Counsel for the defendant
requested a continuance of the present trial date of August ‘i, 2005 in order to allow for
additional preparation in the case.

The Court granted the request and continued the trial date to October 3, 2005 at

9:30 a.m., with a re ort date of Frida Se tember 23 2005 at 2:00 .m.

 

The period from August 12, 2005 through October14, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(iv) because the interests ofjustice in allowing additional time to
prepare outweigh the need for a speedy tria|.

lT is so oRDEREo this °’° ‘K\ day or Juiy, 2005.

JAV/M/LM

SAN|UEL H. IV|AYS, JR.
UN|TED STATES D|STR|CT JUDGE

 

This doctment entered on the docket sheet in c mp|l ce
with Fi.ile 55 and/or 32rbi FHCrP on _j_’_l§_@§_' y

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 114 in
case 2:05-CR-20177 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

